                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION



USA                                                   )
                                                      )
                                                      )   11-4015-01/02-CR-C-NKL
V                                                     )
                                                      )
Brandwein, et al                                      )
                                                      )



                               ORDER SEALING INDICTMENT


        This indictment shall be kept secret until a defendant is in custody or has been given bail,
and upon completion of the issuance of the warrant of arrest, the clerk shall seal the indictment
and it shall remain sealed pending further order of the court.




                                             ___/s Matt J. Whitworth_____
                                             Matt J. Whitworth
                                             U.S. Magistrate Judge




        Case 2:11-cr-04015-BCW           Document 2        Filed 04/21/11      Page 1 of 1
